 

Case 3:17-cv-00101-RDM Document 222 Filed 02/14/19 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,

Plaintiff

: 3:17-CV-101
Vv. : (Judge Mariani)

NAVIENT CORPORATION, et al.,

Defendants.

SPECIAL MASTER ORDER #7

NOW, this 14th day of February, 2019, the parties having agreed to in camera
review of a random sample of the 6,607 documents withheld from production by Defendants
on the basis of the Attorney Work Product doctrine; and having further agreed that a sample
size of 7% of the 6,607 withheld documents produces a statistically significant sample size:
and having further agreed that the Special Master may utilize an online random number
generator to generate a list of numbers from the document list submitted to the Special
Master by email on February 13, 2109; and the Special Master having utilized
www.randomizer.org to generate a random set of 462 numbers from the list of 6,607
documents, IT IS HEREBY ORDERED THAT:

1. Defendants shall produce for in camera review the documents with the following

sample numbers on the list provided by email on February 13, 2019: 12, 57, 67,

 

 
Case 3:17-cv-00101-RDM Document 222 Filed 02/14/19 Page 2 of 3

75, 85, 128, 129, 143, 145, 146, 191, 195, 203, 206, 213, 220, 223, 235, 249,
256, 269, 271, 311, 318, 321, 327, 329, 340, 345, 361, 389, 391, 397, 401, 418,
419, 444, 445, 446, 456, 457, 460, 489, 512, 522, 549, 553, 569, 592, 600, 628,
632, 670, 675, 690, 691, 696, 707, 715, 737, 760, 794, 809, 823, 844, 851, 857,
867, 873, 877, 879, 902, 907, 924, 927, 930, 964, 1031, 1040, 1090, 1093, 1114,
1118, 1147, 1176, 1179, 1198, 1216, 1218,1254, 1264, 1279, 1307, 1308, 1329,
1340, 1344, 1373, 1377, 1386, 1404, 1428, 1435, 1478, 1496, 1521, 1541, 1592
1593, 1616, 1633, 1634, 1635, 1651, 1658, 1660, 1703, 1709, 1716, 1720, 1721
1724, 1743, 1749, 1761, 1769, 1777, 1794, 1796, 1830, 1838, 1864, 1865, 1868
1873, 1880, 1898, 1914, 1915, 1918, 1941, 1967, 1991, 2002, 2024, 2032, 2056
2062, 2079, 2091, 2094, 2105, 2118, 2143, 2164, 2176, 2188, 2194, 2234, 2273,
2274, 2281, 2293, 2310, 2336, 2339, 2359, 2391, 2405, 2406, 2430, 2431, 2435,
2478, 2479, 2496, 2499, 2517, 2520, 2562, 2579, 2582, 2591, 2604, 2617, 2653,
2658, 2677, 2684, 2692, 2696, 2724, 2757, 2802, 2830, 2868, 2871, 2915, 2927,
2938, 2947, 3007, 3027, 3057, 3060, 3069, 3073, 3095, 3096, 3109, 3439, 3140,
3144, 3158, 3168, 3204, 3249, 3257, 3262, 3294, 3295, 3324, 3349, 3367, 3379,
3428, 3442, 3445, 3465, 3467, 3472, 3501, 3520, 3533, 3548, 3557, 3561, 3653,
3665, 3668, 3675, 3693, 3712, 3730, 3734, 3751, 3754, 3761, 3781, 3808, 3811,
3814, 3824, 3825, 3828, 3830, 3905, 3928, 3931, 3938, 3959, 3968, 3969, 4011,

4017, 4049, 4072, 4077, 4085, 4086, 4092, 4101, 4117, 4143, 4161, 4173, 4176,

 

 
Case 3:17-cv-00101-RDM Document 222 Filed 02/14/19 Page 3 of 3

4180, 4182, 4183, 4184, 4190, 4197, 4198, 4223, 4234, 4246, 4260, 4262, 4270,
4275, 4299, 4320, 4324, 4326, 4340, 4346, 4393, 4398, 4412, 4417, 4430, 4432,
4436, 4474, 4508, 4512, 4521, 4529, 4560, 4566, 4584, 4598, 4627, 4628, 4655,
4670, 4695, 4699, 4705, 4718, 4741, 4742, 4744, 4747, 4817, 4820, 4829, 4833,
4859, 4863, 4894, 4927, 4930, 4946, 4958, 5015, 5017, 5026, 5040, 5045, 5054,
9069, 5098, 5105, 5114, 5118, 5120, 5131, 5157, 5158, 5161, 5165, 5173, 5188,
5189, 5213, 5231, 5239, 5258, 5332, 5336, 5341, 5343, 5367, 5393, 5396, 5451,
5461, 5463, 5479, 5507, 5518, 5534, 5636, 5555, 5558, 5583, 5591, 5601, 5607,
5616, 5674, 5689, 5698, 5700, 5703, 5704, 5715, 5717, 5720, 5759, 5783, 5784,
5787, 5802, 5804, 5805, 5815, 5816, 5823, 5827, 5829, 5855, 5890, 5902, 5906,
5925, 5945, 5948, 5961, 5966, 5997, 6002, 6011, 6015, 6037, 6053, 6069, 6077,
6078, 6104, 6115, 6145, 6156, 6189, 6221, 6226, 6233, 6249, 6264, 6274, 6275,
6278, 6279, 6285, 6297, 6308, 6316, 6322, 6332, 6366, 6375, 6379, 6385, 6386,
6398, 6407, 6415, 6424, 6466, 6477, 6534, 6538, 6540, 6548, 6554, 6558, 6577,
6579, 6582, 6601.
2. At the telephonic conference to be held on Tuesday, February 19, 2019,

Defendants shall provide a schedule for production of the documents bearing the

sample numbers in paragraph 1 above.

s/ Thomas |. Vanaskie
_ THOMAS I. VANASKIE
SPECIAL MASTER

 

 

 
